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                               EXHIBIT 45
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                                            May 26, 2020


By Email
Elizabeth P. Papez
Patrick F. Stokes
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.
Washington, D.C. 20036

         Re:      Conferral on the Proposed Order Granting Plaintiff’s Motion for
                  Preliminary Injunction served on Villanova Trust in the case
                  styled Amazon.com, Inc. and Amazon Data Services, Inc., v. WDC
                  Holdings LLC dba Northstar Commercial Partners, et al.; No.
                  1:20-CV-484; In the United States District Court for the Eastern
                  District of Virginia, Alexandria Division.

Dear Elizabeth and Patrick:

       This is to memorialize our conferral conversations regarding the Temporary Restraining
Order and the Proposed Order Granting Plaintiff’s Motion for Preliminary Injunction against
Villanova Trust. As I expressed previously, my client Christian Kirschner (trustee of the
Villanova Trust) is cooperating with the government in its ongoing investigation into the events
referenced in your complaint. Villanova Trust is not in possession of any Amazon confidential
or non-public proprietary information. Also, as I stated in our call, the Villanova Trust has no
monetary assets in its possession or control.

        I look forward to continued discussions as we work to mutually resolve this matter.

                                                   Yours very truly,




                                                   Chris Flood

CF:lb
